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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

MERIT MEDICAL SYSTEMS                       :
               Plaintiff,                   :
                                            :
              v.                            :       Civ. No. 20-6468
                                            :
WILLIAM P. BARR, et al.                     :
               Defendants.                  :

                                       ORDER

       AND NOW, this 30th day of June, it is hereby ORDERED that Defendants RESPOND

to Plaintiff’s Motion for Preliminary Injunction (Doc. No. 4) no later than July 15, 2020.




                                                           AND IT IS SO ORDERED.

                                                           /s/ Paul S. Diamond
                                                           ___________________
                                                           Paul S. Diamond, J.
